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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA

               v.                                  CRIMINAL NO: TDC-24-211

HOAU-YAN WANG,

Defendant.


        RESPONSE TO MOTION FOR ISSUANCE OF RULE 17(c) SUBPOENA

       The United States of America, though its undersigned attorneys, respectfully files this

response to Defendant’s Motion for the Issuance of a Rule 17(c) subpoena filed on August 27,

2024 (ECF No. 34).

       After consulting with counsel for Defendant and confirming that the United States would

receive the requested materials when they are furnished to counsel for the Defendant, the United

States does not oppose the request for the subpoena.

                                            Respectfully submitted,

                                            Glenn S. Leon
                                            Chief
                                            Fraud Section, Criminal Division
                                            United States Department of Justice


                                       By: ______/s/_____________________
                                           Andrew Tyler
                                           Vasanth Sridharan
                                           Anna Kaminska
                                           Fraud Section, Criminal Division
                                           United States Department of Justice
                                           Attorneys for the Government
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was filed with the Clerk of the Court

using the CM/ECF system, which will send notice to all counsel of record.

                                            ______/s/_____________________
                                            Andrew Tyler, Trial Attorney
                                            Fraud Section, Criminal Division
                                            United States Department of Justice
